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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                  8:08CR439
      vs.                                   )
                                            )                    ORDER
JOSEPH T. JORDAN,                           )
                                            )
                    Defendant.              )


      The defendant's Motion to Review Detention (#138) is denied.

        The defendant's proposed release fails to address the court's concerns as set out
in the Order of Detention (#14) filed December 19, 2008. Nor does the plan present
sufficient evidence to overcome the presumption of detention set out in 18 U.S.C. 3142(e).

       The defendant, given his age, has a significant criminal record and a past history
of drug abuse. The substantial prior record of the defendant and his past behavior
demonstrate by clear and convincing evidence that no condition or combination of
conditions will reasonably assure the safety of any other persons or the community, or
reasonably assure his appearance.

      IT IS ORDERED that defendant's Motion to Review Detention (#138) is denied
without hearing.

      DATED May 13, 2009.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge
